16 F.3d 411NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    L. RUTHER, Plaintiff-Appellant,v.STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY, Defendant-Appellee.
    No. 93-2253.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 20, 1994.Decided Feb. 3, 1994.
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.  W. Earl Britt, District Judge.  (MISC-93-132-5-BR)
      L. Ruther, appellant pro se.
      E.D.N.C.
      DISMISSED.
      Before WIDENER, WILKINS, and HAMILTON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order that dismissed his action under 28 U.S.C. Sec. 1915(d) (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we deny leave to proceed in forma pauperis and dismiss the appeal on the reasoning of the district court.  Ruther v. State Farm Mutual Ins. Co., No. MISC-93-132-5-BR (E.D.N.C. Sept. 24, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    